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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ORLANDO O. RILEY,                   )
            Plaintiff               )
                                    )
v.                                  )
                                    )
MASSACHUSETTS DEPARTMENT            )                   Civil Action No.: 1:15-CV-14137-DJC
 OF STATE POLICE,                   )
            Defendant               )
____________________________________)


     PARTIES’ AMENDED LIST OF STIPULATED AND CONTESTED EXHIBITS
          The parties propose to offer the following stipulated and contested exhibits at trial. The

parties reserve their right to use other documents or items for purposes of impeachment or

refreshing recollection.

                                     STIPULATED EXHIBITS
 EXH.       DESCRIPTION                                                              BATES NOS.

     1.     Stipulation of Facts

     2.     August 25, 2006 City of New Bedford Certificate of                       MCAD 80
            Commendation

     3.     March 13, 2007 August Santos (New Bedford P.D.) email to Riley           NBPD 150

     4.     March 20, 2007 August Santos email to Riley                              NBPD 151

     5.     March 27, 2007 August Santos Memorandum to Riley                         NBPD 159

     6.     December 29, 2009 Steven Blackburn memo to Riley re: Soares              P 787
            Investigation

     7.     January 5, 2010 Notice of Interview to Riley                             NBPD 217

     8.     January 26, 2010 NBPD PSU Form 3 Signed by Riley.                        MSP 343
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EXH.    DESCRIPTION                                                     BATES NOS.

  9.    April 18, 2011 Candidate J.H.’s Application with Handwritten    MSP 3942-
        Changes                                                         MSP 3965

  10. INTENTIONALLY LEFT BLANK

  11. May 10, 2010 Notice to Riley in Case # 1309 (the “Stallings       NBPD 167
      Investigation”)

  12. June 18, 2010 Memorandum on Soares Investigation                  MSP 229

  13. April 4, 2011 MSP Conditional Offer of Employment to Plaintiff    MSP 147

  14. April 14, 2011 Candidate A.G. Application                         MSP 4610-
                                                                        MSP 4633

  15. May 2, 2011 Riley’s Notarized Agreement                           MSP 128

  16. May 2, 2011 Riley’s original MSP application                      MSP 77-
                                                                        MSP 98

  17. May 2, 2011 Candidate J.W. Application                            MSP 4417-
                                                                        MSP 4439

  18. June 1, 2011 NBPD Email to Riley Regarding Soares Investigation   NBPD 264

  19. June 6, 2011 Candidate AP application                             MSP 3334-
                                                                        MSP 3357

  20. July 8, 2011 email from Lima to Riley w/attachments               P 1798-
                                                                        P 1805

  21. July 8, 2011 Email from Lima to A.G.                              MSP 1800

  22. July 10, 2011 Candidate J.H. Background Investigative Report –    MSP 3870-
      Credit Reports                                                    MSP 3907

  23. July 13, 2011 Riley New Bedford High School Graduation            MSP 780
      Verification

  24. July 13, 2011 Riley New Bedford High School Records Release       MSP 173
      Form

  25. July 20, 2011 Email from Riley to Lima                            P 1847


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EXH.    DESCRIPTION                                                     BATES NOS.

  26. August 17, 2011 Email from Riley to Lima                          P 1848

  27. August 20, 2011 Emails between Lima and Smith                     MSP 2038-
                                                                        MSP 2039

  28. August 20, 2011 Email from Lima to J.W.                           MSP 1799

  29. August 22, 2011 Email from Riley to Lima                          P 1811

  30. September 1, 2011 Riley’s Completed Questionnaire                 MSP 689-
                                                                        MSP 693

  31. Riley’s Application Dated May 2, 2011 with Handwritten Changes    MSP 101-
      and Corrections entered on Sept. 1, 2011                          MSP 120

  32. September 2, 2011 Lima’s Background Investigation Report for      MSP 3652-
      Candidate J.H.                                                    MSP 3660

  33. September 5, 2011 Lima’s Background Investigation Report for      MSP 4223-
      Candidate J.W.                                                    MSP 4232

  34. September 6, 2011 Lima Background Investigation Report for        MSP 4634-
      Candidate A.G.                                                    MSP 4642

  35. September 6, 2011 email from Riley to Nancy Wood                  MSP 181

  36. September 6, 2011 Emails between A.P. and Lima                    MSP 2012-
                                                                        MSP 2013

  37. September 7, 2011 Review Board Elimination Letter to Candidate    MSP 3118
      A.G.

  38. Lima’s Completed Background Investigation Report on Riley         MSP 63-
      (Updated September 7, 2011)                                       MSP 73

  39. September 12, 2011 Email from Smith to Lima                       MSP 444

  40. September 12-13, 2011 Emails from Lima to A.P.                    MSP 2019-
                                                                        MSP 2020

  41. September 15, 2011 Review Board Elimination Letter to Candidate   MSP 4801
      JW



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EXH.    DESCRIPTION                                                      BATES NOS.

  42. September 15, 2011 Letter of appointment from Marian McGovern      MSP 3668-
      to candidate JH                                                    MSP 3669

  43. September 15, 2011 Letter from Flynn to Riley                      MSP 156

  44. September 18, 2011 Lima Background Investigation Report for        MSP
      Candidate A.P.                                                     3452MSP3461

  45. September 22, 2011 Review Board Elimination Letter to Candidate    MSP 3263
      A.P.

  46. September 26, 2011 Email from Kevin Butler to William              MSP 1793
      Christiansen, Francis Hart, George Smith

  47. September 29, 2011 Email thread between George Smith and           MSP 2044
      Robert Lima

  48. Lima’s Memorandum Regarding Further Investigation of Riley of      MSP 74-
      September 28, 2011                                                 MSP 76

  49. September 28, 2011 Letter from Flynn to Riley                      MSP 169

  50. December 2011 Massachusetts State Police organization chart

  51. February 21, 2013 Minimum entrance requirements                    MSP 1392-
                                                                         MSP 1393

  52. Automatic and Discretionary Disqualifiers for MSP’s 80th Recruit   MSP 9-
      Training Troop (“RTT”)                                             MSP 16

  53. Instruction Sheet for 80th RTT Application                         P 15

  54. Riley New Bedford High School Transcript                           MSP 486

  55. Bishop Stang High School Transcript (April 7, 2011)                MSP 484




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                               CONTESTED EXHIBITS
                                      BATES       PARTY
EXH.    DESCRIPTION                   NO.         OBJECTING/
                                                  BASIS                RESPONSE
  A.    March 21, 2006 Letter to      MSP 4280    Defendant objects    Offered to show
        Candidate “J.W.” from                     based upon           notice to
        Director of Operations                    hearsay and          background
        regarding job performance                 relevance grounds    investigator; lack
        issues                                                         of basis for
                                                                       report; relevant
                                                                       to comparator
                                                                       treatment, pretext

  B.    July 2, 2007 Letter to NBPD   P02020      Defendants object    Offered to show
        Chief Moniz re: Riley                     based upon           notice to
                                                  hearsay and          background
                                                  relevance grounds.   investigator; lack
                                                                       of basis for
                                                                       report; pretext

  C.    January 30, 2008 Dax          MSP 630     Defendant objects    Offered to show
        Grantham letter regarding                 based upon           notice to
        mortgage fraud                            hearsay grounds      background
                                                                       investigator; lack
                                                                       of basis for
                                                                       report; relevant
                                                                       to pretext

  D.    April 2011 Candidate J.H.     MSP 3851- Defendant objects      Offered to show
        Performance Review            MSP 3852 based upon              notice to
                                                hearsay,               background
                                                completeness, and      investigator; lack
                                                relevance grounds      of basis for
                                                                       report; relevant
                                                                       to comparator
                                                                       treatment, pretext
                                                                       Document is
                                                                       complete.

  E.    September 6, 2011 Riley       MSP 153 –   Defendant objects    Not hearsay
        email exchange with Lima      MSP 154     on hearsay           under Fed. R.
                                                  grounds              Evid.
                                                                       801(d)(2)(D)




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                                      BATES      PARTY
EXH.    DESCRIPTION                   NO.        OBJECTING/
                                                 BASIS               RESPONSE
  F.    September 15, 2011 Riley     MSP 231-    Defendant objects   Offered to show
        email to Lima, enclosing     MSP 232     on hearsay          notice to
        correspondence from Heritage             grounds             background
        Pacific Financial                                            investigator; lack
                                                                     of basis for
                                                                     report; relevant
                                                                     to pretext

  G.    September 20, 2011 Riley      MSP 709    Defendant objects   Offered to show
        email to Lima, forwarding                on relevance,       notice to
        Conti email                              hearsay, and        background
                                                 improper opinion    investigator, lack
                                                 grounds             of basis for
                                                                     report,
                                                                     investigator
                                                                     failed to consider
                                                                     both data and
                                                                     opinion.
                                                                     Relevant to
                                                                     unfairness of
                                                                     treatment, pretext

  H.    September 20, 2011 Jonathan   MSP 1948- Defendant objects    Offered to show
        Conti email with attachment   MSP 1950, on relevance,        notice to
        to Lima                       MSP 1870 hearsay, and          background
                                                improper opinion     investigator, lack
                                                grounds              of basis for
                                                                     report,
                                                                     investigator
                                                                     failed to consider
                                                                     both data and
                                                                     opinion.
                                                                     Relevant to
                                                                     unfairness of
                                                                     treatment, pretext

  I.    September 22, 2011 Letter     P 65-P66   Defendant objects   Offered to show
        from Riley to Flynn                      on hearsay          notice of appeal
                                                 grounds             to MSP,
                                                                     unfairness of
                                                                     treatment




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                                         BATES      PARTY
EXH.    DESCRIPTION                      NO.        OBJECTING/
                                                    BASIS                  RESPONSE
  J.    Defendant’s Third                           Defendant objects      This document is
        Supplemental Response to                    as discussed in        relevant and
        Interrogatory No. 2, including              MSP’s Opposition       admissible per
        data on the 80th RTT (RTT                   to Plaintiff’s         Plaintiff’s
        Start date Oct. 2011) (Dated                Motion in Limine       Motion in Limine
        October 19, 2017)                                                  Regarding Data
                                                                           on African
                                                                           American
                                                                           Employment by
                                                                           Defendant (Doc.
                                                                           198)

  K.    Mass. State Police Bi-weekly     MSP 1402- Defendant objects       Relevant to
        Salary Rates                     MSP 1464 as to relevance          damages
  L.    Agreement Between City of                   Defendant objects      Relevant to
        New Bedford and the New                     as to relevance        damages
        Bedford Police Union Eff.
        07/01/12-06/30/15

  M.    Excerpts from MSP’s                         Defendant objects      This document is
        Responses to Interrogatories,               as discussed in        relevant and
        Yee v. Massachusetts State                  MSP’s Opposition       admissible per
        Police, CA No. 2014-1103-G,                 to Plaintiff’s         Plaintiff’s
        pages 1-3, 11-12                            Motion in Limine       Motion in Limine
                                                                           Regarding Data
                                                                           on African
                                                                           American
                                                                           Employment by
                                                                           Defendant (Doc.
                                                                           198)

  N.    November 16, 1999 Riley          P 1913-    Plaintiff objects as   Relevant to
        first NBPD application           P 1919     to relevance, Fed.     Plaintiff’s
                                                    R. Evid. 403           truthfulness in
                                                                           applying to the
                                                                           State Police;
                                                                           relevant to
                                                                           Lima’s state of
                                                                           mind

  O.    April 17, 2001 Riley second      P 1939-    Plaintiff objects as   Relevant to
        NBPD application                 P 1946     to relevance, Fed.     Plaintiff’s
                                                    R. Evid. 403           truthfulness in
                                             7
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                                       BATES      PARTY
EXH.    DESCRIPTION                    NO.        OBJECTING/
                                                  BASIS                  RESPONSE
                                                                         applying to the
                                                                         State Police;
                                                                         relevant to
                                                                         Lima’s state of
                                                                         mind

  P.    August 8, 2003 Riley RISP      RISP 42-   Plaintiff objects      Defendants will
        application                    RISP 56    on the grounds set     respond by
                                                  forth in his           motion
                                                  Motion in Limine
                                                  on this subject

  Q.    RISP background                RISP 4-    Plaintiff objects      Defendants will
        investigation – RISP 04-41     RISP 41    on the grounds set     respond by
        (Interview held 4/13/04)                  forth in his           motion
                                                  Motion in Limine
                                                  on this subject

  R.    2004 Riley Internal NBPD       NBPD 54    Plaintiff objects      Defendants will
        Race Discrimination                       on the grounds set     respond by
        Complaint                                 forth in his           motion
                                                  Motion in Limine
                                                  on this subject

  S.    October 24, 2006 NBPD          NBPD       Plaintiff objects      Defendants will
        Completed Investigation into   127-       on the grounds set     respond by
        Stallings complaint            NBPD 174   forth in his           motion
                                                  Motion in Limine
                                                  on this subject

  T.    December 7, 2009 NBPD          NBPD       Plaintiff objects      Defendants will
        complete packet on Soares      175-       on the grounds set     respond by
        investigation                  NBPD 266   forth in his           motion
                                                  Motion in Limine
                                                  on this subject

  U.    August 29, 2011 Provencher     MSP 161-   Plaintiff objects as   Relevant to
        letter to Conti                MSP 162    to relevance           Plaintiff’s
                                                                         truthfulness in
                                                                         applying to the
                                                                         State Police;
                                                                         relevant to


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                                                  BATES           PARTY
    EXH.    DESCRIPTION                           NO.             OBJECTING/
                                                                  BASIS                    RESPONSE
                                                                                           Lima’s state of
                                                                                           mind

      V.    Riley’s 1st MCAD                      MCAD            Plaintiff objects        Defendants will
            discrimination complaint              257-            on the grounds set       respond by
            against NBPD                          MCAD            forth in his             motion
                                                  258             Motion in Limine
                                                                  on this subject

      W.    Riley’s 2d MCAD                       P 2417          Plaintiff objects        Defendants will
            discrimination complaint                              on the grounds set       respond by
            against NBPD                                          forth in his             motion
                                                                  Motion in Limine
                                                                  on this subject 1

      X.    Riley’s hostile work                  P 2443-         Plaintiff objects        Defendants will
            environment complaint                 P 2446          on the grounds set       respond by
            against Sgt. Ortega                                   forth in his             motion
                                                                  Motion in Limine
                                                                  on this subject

      Y.    Google Maps of Nelson &                               Plaintiff objects        Defendants will
            County Streets in New                                 on the grounds set       respond by
            Bedford                                               forth in his             motion
                                                                  Motion in Limine
                                                                  regarding after-
                                                                  acquired evidence

      Z.    September 20, 2011 email              MSP 708         Defendant objects        Offered to show
            from Riley to Lima                                    on relevance,            notice to
                                                                  hearsay, and             background
                                                                  improper opinion         investigator, lack
                                                                  grounds                  of basis for
                                                                                           report,
                                                                                           investigator
                                                                                           failed to consider
                                                                                           both data and
                                                                                           opinion.
                                                                                           Relevant to


1
  Plaintiff did not anticipate that defendant would seek to offer proposed Exhibit W when he filed his Motion in
Limine Regarding Use of Preliminary or Collateral Proceedings (Doc. 196). Nevertheless, the arguments asserted in
that motion apply equally to Exhibit W.

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                                   BATES         PARTY
EXH.    DESCRIPTION                NO.           OBJECTING/
                                                 BASIS               RESPONSE
                                                                     unfairness of
                                                                     treatment, pretext

  AA. September 2, 2011 Conti      MSP 1946- Defendant objects       Offered to show
      Office Email to Lima         MSP1947   on relevance,           notice to
                                             hearsay, and            background
                                             improper opinion        investigator, lack
                                             grounds                 of basis for
                                                                     report,
                                                                     investigator
                                                                     failed to consider
                                                                     both data and
                                                                     opinion.
                                                                     Relevant to
                                                                     unfairness of
                                                                     treatment, pretext

                                           Respectfully submitted,

DEFENDANT                                  PLAINTIFF

Massachusetts State Police                 Orlando Riley

By its attorneys,                          By his attorneys,

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DATE: November 30, 2018

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                                 CERTIFICATE OF SERVICE


        I, James S. Weliky, hereby certify that this document, filed through the ECF system, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants, on
November 30, 2018.


                                               /s/ James S. Weliky
                                               James S. Weliky, Esq.

Dated: November 30, 2018




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